Case: 3:18-cv-50040 Document #: 174 Filed: 02/27/20 Page 1 of 1 PageID #:1038

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Western Division

Patrick Pursley
                                 Plaintiff,
v.                                                    Case No.: 3:18−cv−50040
                                                      Honorable Philip G. Reinhard
City of Rockford, et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 27, 2020:


        MINUTE entry before the Honorable Lisa A. Jensen: Motion hearing held on
2/27/2020. Plaintiff informs the Court that service of the motion has not been made on
Lester Brown. The rule to show cause hearing is set for 3/12/2020 at 10:00 AM in
courtroom 3200 in the U.S. Roszkowski Courthouse on 327 S. Church St., Rockford, IL
61101. Mr. Lester Brown is ordered to appear in person and explain why he should not be
found in contempt of Court for failing to attend the deposition scheduled on 2/18/2020.
By agreement of the parties, if Mr. Brown appears for the Court hearing and completes his
deposition that day or has already completed his deposition prior to the 3/12/2020 hearing,
the rule to show cause hearing will be stricken. Plaintiff shall serve a copy of this order on
Mr. Brown and file proof of service on the docket. Mailed notice (jk, )




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